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11                           UNITED STATES DISTRICT COURT
12                         NORTHERN DISTRICT OF CALIFORNIA
13                              SAN FRANCISCO DIVISION
14   IN RE KOREAN RAMEN ANTITRUST            Case No. 3:13-cv-04115-WHO
     LITIGATION
15                                           JUDGMENT

16   THIS DOCUMENT RELATES TO:

17   All Actions

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             Case 3:13-cv-04115-WHO Document 929 Filed 01/11/19 Page 2 of 3


1    TO ALL INTERESTED PERSONS AND PARTIES:
2             This action was brought by the Direct Purchaser Plaintiff class and the Indirect Purchaser Plain-
3    tiff class, through their respective representatives (“Plaintiffs”) against Defendants Nong Shim Co.,
4    Ltd. a/k/a Nongshim Co. Ltd., Nongshim America, Inc., Ottogi Co., Ltd., and Ottogi America, Inc.
5    (“Defendants”). Following a trial on the merits, the jury returned a verdict on December 17, 2018.
6    (See Dkt. No. 920.) Pursuant to that verdict and Federal Rule of Civil Procedure 58:
7             1. Judgment is hereby entered in favor of all Defendants on all claims asserted by or on behalf
8    of Direct Purchaser Plaintiffs Rockman Company (USA), Inc., Pacific Groservice, Inc. d/b/a Pitco
9    Foods, the Plaza Market, and Summit Import Corp., and the following certified class that they repre-
10   sent:
11               All persons and entities in the United States and its territories who purchased
                 Korean Noodles directly from Defendants Nong Shim Co., Ltd., Nongshim
12               America, Inc., Ottogi Co., Ltd., or Ottogi America, Inc. at any time from March
                 1, 2003 through January 31, 2010. The Class excludes the Defendants Samyang
13               Foods Co., Ltd., Samyang (USA), Inc., Korea Yakult, Co., Ltd., Paldo Co., Ltd.
14               and any of their current or former parents, subsidiaries or affiliates. The Class
                 also excludes all judicial officers presiding over this action and their immediate
15               family members and staff, and any juror assigned to this action.

16   The following entity is excepted from the judgment against the Direct Purchaser Plaintiff class: Ys &

17   Son Company.

18            2. Judgment is hereby entered in favor of all Defendants on all claims asserted by or on behalf

19   of Indirect Purchaser Plaintiffs Eleanor Pelobello, Christina Nguyen, Anthony An, Charles Chung,

20   Kenny Kang, Ji Choi, Joyce Beamer, Yim Ha Noble, and Thu-Thuy Nguyen, and the following certi-

21   fied class that they represent:

22               All persons and entities that purchased “Korean Ramen Noodles” in Arizona,
                 California, Florida, Hawaii, Kansas, Maine, Massachusetts, Michigan, Minne-
23               sota, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico,
                 New York, North Carolina, Oregon, Tennessee, Utah, Vermont, West Virginia,
24               and Wisconsin, and the District of Columbia for their own use and not for resale,
                 from March 1, 2003 through January 31, 2010. For purposes of this definition,
25               “Korean Ramen Noodles” means Nongshim, Ottogi and Samyang branded bag,
26               cup or bowl ramen, including fried, dried, fresh and frozen noodle products.
                 Specifically excluded from this class are any Defendant; the officers, directors,
27               or employees of any Defendant; any entity in which any Defendant has a con-
                 trolling interest; and any affiliate, legal representative, heir, or assign of any De-
28               fendant. Also excluded are the judicial officers to whom this case is assigned
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1               and any member of such judicial officers’ immediate family.
2    The following individuals are excepted from the judgment against the Indirect Purchaser Plaintiff class:

3    Carol Cieszinski; Tara Mier; Joseph Clay Stiles, IV; and Andre Yonadam.

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5    IT IS SO ORDERED AND ADJUDGED.

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7                   11 2019
     Dated: January __,                           By: __________________________________
                                                         William H. Orrick
8                                                        United States District Judge
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